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Attorney for BANK OF AMERICA, N.A.


                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


IN RE:                                                  §   CASE NO. 18-40419-BTR-7
                                                        §
CHRISTOPHER LANE MCDOUGAL,                              §
   Debtor                                               §   CHAPTER 7
                                                        §
BANK OF AMERICA, N.A.,                                  §
   Movant                                               §   HEARING DATE:
                                                        §
v.                                                      §   TIME:
                                                        §
CHRISTOPHER LANE MCDOUGAL;                              §
CHRISTOPHER J. MOSER,                                   §
Trustee                                                 §
     Respondents                                        §   JUDGE BRENDA T. RHOADES


                     MOTION OF BANK OF AMERICA, N.A.
FOR RELIEF FROM STAY OF ACTION AGAINST DEBTOR(S) PURSUANT TO 11
 U.S.C. § 362(a) AND WAIVER OF THIRTY DAY REQUIREMENT PURSUANT TO
                                 § 362(e)

                                                 NOTICE

NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE UNITED STATES
BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS
PLEADING WITHIN 14 DAYS FROM THE DATE OF SERVICE UNLESS THE
COURT SHORTENS OR EXTENDS THE TIME FOR FILING SUCH OBJECTION.
IF NO OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN ORDER
GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS FILED AND SERVED
IN A TIMELY MANNER, THE COURT WILL THEREAFTER SET A HEARING. IF
YOU FAIL TO APPEAR AT THE HEARING, YOUR OBJECTION MAY BE
STRICKEN. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
MATTER.

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 TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Movant, BANK OF AMERICA, N.A., by and through the undersigned

 attorney, and moves the Court as follows:

      1.      This Motion is brought pursuant to 11 U.S.C. §362(d) in accordance with Rule

4001 of the Bankruptcy Rules.

      2.      On or about March 01, 2018, Debtor (hereinafter "Debtor") filed a petition for an

order of relief under Chapter 7 of the Bankruptcy Code, 11 U.S.C.

      3.       At the time of filing the Chapter 7 petition, Movant held a Note executed on

August 4, 2003, by SHANNON MCDOUGAL and CHRIS L. MCDOUGAL in the original

amount of FOUR HUNDRED NINETY-SEVEN THOUSAND DOLLARS AND ZERO

CENTS ($497,000.00) with interest thereon at the rate of 5.750% per annum. A true and

correct copy of the Note is attached hereto as Exhibit "A".

      4.      The indebtedness is secured by a Deed of Trust dated August 4, 2003 and

executed by SHANNON MCDOUGAL and CHRIS L. MCDOUGAL on real estate with all

improvements known as:

      BEING LOT 11, BLOCK A OF STARWOOD PHASE ONE-VILLAS OF STAR
      CREEK (VILLAGE 2) AND STAR RIDGE (VILLAGE 3) AN ADDITION TO
      THE CITY OF FRISCO, COLLIN COUNTY, TEXAS, ACCORDING TO THE
      PLAT THEREOF RECORDED IN VOLUME J. PAGE 196, MAP RECORDS,
      COLLIN COUNTY, TEXAS

A true and correct copy of the Deed of Trust is attached hereto as Exhibit "B".

      5.      Debtor has failed to maintain current the payments due under the Note and as

of March 23, 2018 is in arrears for 3 payments through and including the March 1, 2018

payment.

      6.      The outstanding indebtedness to Movant is $356,276.17 principal plus accrued

interest, late charges, attorneys fees and costs as provided in the Note and Deed of Trust.
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      7.       In accordance with the terms of the Note and Deed of Trust, Movant would

allege that it is entitled to reasonable post-petition attorneys fees, including, but not limited to,

fees, if any, for the preparation and filing of a proof of claim and fees and costs for the filing of

this Motion for Relief from Stay.

      8.      Debtor has failed to provide adequate protection to Movant which constitutes

cause to terminate the automatic stay of 11 U.S.C. §362(a).

      9.      By reason of the foregoing, Movant requests the Court to terminate the stay so

Movant may proceed to foreclose in accordance with its Note and Deed of Trust.

      10.     Movant reserves the right to assert an 11 U.S.C. § 362(d)(2) Cause of Action, if

appropriate, at the hearing on Movant's Motion for Relief.

      11.     The provision of Rule 4001 (a) (3) should be waived and Movant be permitted to

immediately enforce and implement any order granting relief from the automatic stay.

      WHEREFORE, Movant prays that this Court enter an order, after notice and hearing,

terminating the automatic stay as to Movant; alternatively, Movant be made whole by having

all payments brought current. Movant further prays that the Court waive the provision of

Rule 4001 (a) (3) and that BANK OF AMERICA, N.A. be permitted to immediately enforce

and implement any order granting relief from the automatic stay; that Movant be awarded its

reasonable post-petition attorneys fees and expenses for this Motion; and, that Movant be

granted such other and further relief as is just.




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                                          Respectfully submitted,

                                          BARRETT DAFFIN FRAPPIER
                                          TURNER & ENGEL, LLP



                                  BY: /s/ JEFF FLEMING
                                      JEFF FLEMING
                                      TX NO. 24034442
                                      4004 Belt Line Rd Ste. 100
                                      ADDISON, TX 75001
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                                      E-mail: EDECF@BDFGROUP.COM
                                      ATTORNEY FOR MOVANT




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                                      CERTIFICATE OF SERVICE
    I hereby certify that on March 28, 2018, a true and correct copy of the foregoing Motion for

Relief from Stay was served via electronic means as listed on the Court's ECF noticing system

or by regular first class mail to the parties on the attached list.



                                          Respectfully submitted,

                                          BARRETT DAFFIN FRAPPIER
                                          TURNER & ENGEL, LLP



                                          /s/ JEFF FLEMING                                           03/28/2018
                                          JEFF FLEMING
                                          TX NO. 24034442
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DEBTOR:
CHRISTOPHER LANE MCDOUGAL
4624 STAR RIDGE LANE
FRISCO, TX 75034

TRUSTEE:
CHRISTOPHER J. MOSER
2001 BRYAN STREET
SUITE 1800
DALLAS, TX 75201

US TRUSTEE:
110 N. COLLEGE AVE
SUITE 300
TYLER, TX 75702

DEBTOR'S ATTORNEY:
BRYAN C. ASSINK
901 MAIN ST., STE. 6515
DALLAS, TX 75202

MORTGAGORS:
SHANNON MCDOUGAL
4624 STAR RIDGE LANE
FRISCO, TX 75034

PARTIES IN INTEREST:
None

PARTIES REQUESTING NOTICE:
None




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